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AU 24513         (Rev. 09/I I) .Iudgment in a Criminal Case
                 Slirin


                                                 UNITED STATES DISTRICT COURT
                                                              MIDDLE DISTRICT OF ALABAMA

                 UNITED STATES OF AMERICA                                                JUDGMENT IN A CRIMINAL CASE
                                        V.

                          ALLEX DEMOND MAY                                               Case Number: 2:1 3cr287-06 •WKW

                                                                                         USM Number: 14956 - 002

                                                                                          Susan James
                                                                                         I)iitiiiduiiis •Siiinic
TIlE DEFENDANT:
   pJeL(led godly to caunt(s)                 19s of the Superseding Indictment on 05114/2014
LI pleaded 11olo contemlere to coulit(st
   which was accepted by the court.

LI sas found guilty on count(s)
   after a plea of not guilty.

The delendant is adjudicated guilty of these offenses;

Title & Section                        Nature of Offense                                                              Offeiist Ended              Count

 21:841(a)(1); 18:2                      Possession with Intent to Distribute Cocaine Powder and                       10/9/!013                   19s

                                               Cocaine Base; Aiding and Abetting




   See uLl(t I tiuii.nl CuunL( s) on Page d


      The defendant is sentenced as provided in pages 2 Itiouch 6 ol this pndgnicnt. The senlence is ii- posed pursuant to the
Seniencing Rcfoicn Aci of 1984.

   The defendant has been found not guilly on count(s)

   C01-111t(s)
                  1,17-19, is, 20s-21s                          LI I s   dare dismissed un the motion of the United Lates.

         his ordered that The defendant ITusi not lv tic United States attorney for this district within 30 days i, f anychaiigeofnanie, residence,
or mailmg address until all lines, restitution, costs, and special a ssessents
                                                                         m     imposed by Isis ju   m
                                                                                                  dgent              paid.
                                                                                                          are I'uIIiIfordered   to pay restitution.
the defendant must notify the courl and United Slates at:torney of' material changes in economic circumstanc5

                                                                               11/13/2014
                                                                               Daw ii IFilpos Lt!FJii ol Iiidgineii



                                                                               1   ^                                        ,   ^5^

                                                                                 giLe


                                                                               W. KEITH WATKINS, CHIEF U.S. [:ISTRICT JUDGE
                                                                               N'iiiii u[.Iiid ge                                1-ide of Judge



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                                                                               E)itc [ NI..
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AC) 25B                    (Rev, 09111) Judgment in a Crimiel Case

 I                         Sheet 2 - Imprisonment

                                                                                                                                     Judgment Page: 2of6
     DEFENDANT: ALLEX DEMOND MAY
     CASE NUMBER: 2:13cr287-06-WKW



                                                                           IMPRISONMENT

              The defendant is hereby committed to he custod y of the Un ted States Bureau of Prisons to be impi isoried for a
      Dial term of:
      46 Months




            Vf The court makes the following recommendations to die Bureau of Prisons:

      The Court recommends that defendant be designated to a facility where intensive drug treatment is available.
      The Court recommends that defendant be designated to a facility as close as possible to Montgomery, Alabama.



                     The defendant is renianded to the custod y of the United States Marshal,


            U The defendant shall surrender to the United Stutes Marshal fbr this district:

                     U at                      --_______         - U am.        U p.m.      on ____ .. ... ..._______

                     U as notified by the United States Marshal.


            U The delendam shall surrender liar service oFsctitcnce at the institution designated by the Bureau of Prisons:

                    U heliare                       on       .        - -----      -

                    U as notified by the United States Marshal.

                     U as notified by the Probation or Pretrial Scr\ ices OlTicc.



                                                                                  RETURN
     I have executed this udgnieni as Iiaflows:




                    Delèndant delivered on                                                               to

     U______________________________________                         with a eerti lied copy of this judgment.




                                                                                                                        UNITED SIN E'S MARSHAL




                                                                                                                DEPUTY UNITED rATI/S MARSHAL
                           Case 2:13-cr-00287-WKW-CSC Document 229 Filed 11/17/14 Page 3 of 6

AU 24511              (Rev. 09/11) .kdgmcni in a Ciminat C:se
vi                    Sheet 3— Supervised Relcasc

                                                                                                                                Judgment Page: 3 of 6
 DEFENDANT: ALLEX DEMOND MAY
 CASE NUMBER: 2:13cr287-06-WKW
                                                                SUPERVISED RELEASE
     Upon release from imprisonment, the defendant shall be on supervised release for a termof
     6 Years


              The defendant must report to the probation office in the disirict to wlueh the defendant is released .thin 72 hours of release from the
     custody of the Bureau of Prisons.
     The defendant shall not commit another federal, state or cciii crime,
 The defendant shall not unlawfully possess a contrc lcd substance, The defendant shall refrain from any unL.wt'iil use of a controlled
 substance. The defendant shall submii to one drug test within I days ci release from imprisonment and at last two periodic drug tests
 thereafter, as determined by the court.
               The above drug testing condition is suspended, based oil       court's determination that the det'endant pises a low risk of
               future substance abuse (CIw'k, i/app/icthic)

               The defendant shall not possess'afirearm. ammunion, dcstruc1ic device, or any other dangerous weapon. (Check /opphcahfe)

               The defendant shall cooperate in the collection of 'DNA as directed by the probation officer. Check, i/aacabc)
     71
                    defendant shall comply with the requirements of' the Sc'i Offender Registration and Notification A t (42 U.S.C. § 16901, e( seq.)
               as directed by the probation oliiccr. the Bureau of Prisons, ui any state sex offender registration agency in which he or she resides,
               works, is a student, or was convicted cia qual ifyf rig offense. f/cot, if (!/)pJ!cuh/e

     E         The defendant shall participate in an approved program l'or domestic \ iclence. (('heck. /pplrahle

             If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
     Schedule of Payments sheet ol' this judgment.
           The defendant must comply with the standard conditions that hic been adopted by this court as we I as with any additional conditions
 on the attached page.

                                                 STANDARD CONDITIONS OF SUPERVISION
          1)    the defendani shall not leave the judicial district without the permission of the court or probation olli er;
          2)    the defendant shall report to the probation olticer in a manner and lrequcnc directed by the court or probation officer;
          3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions nl'the probation officer;
       4)       the defendant shall support his or her dependents and meet other family responsibilities;
          5)    the defendant shall work regularly at a lawl'ul occupation, unless excused by the probation officer fa-- schooling, training, or other
                acceptable reasons;
       6)       the defendant shall notitv the probation officer at cast ten days prior to any change in residence or eriplovment;
       7)       the defendant shall refrain 'mom excessive use o l . a I cobol and sLia II not purchase, possess, use, distribute,
                                                                                                                               or administer
                                                                                                                                          any
                controlled substance or any paraphernalia related to any controlled substances, except as prescribed e a physician;
          5)    the defendant shall not frequent places where controlled substances are illegally sold, used. distribi.ruid, or administered:
       9)       the defendant shall not associate with an y persons engaged in criminal activity and shall not associat with any person convicted ofa
                felony, unless granted permission to do so by the pi'ohation ufl'iccr;
      10)       the defendant shall permit a probation olficci' to visit him or her at any Lime at home or elsewhere and ,:;hall permit confiscation of any
                contraband observed in plain view of the probation officer:
      11)       the defendant shall notify the probation ot'liccr within seventy-two hours of being arrested or questioned by a law cnforccrrcnt officer:
      12)       the defendant shall not enter into any agi'ecrnent to 'act as an !n former or a special agent of law cnfi'rcemnt agency without the
                permission of the court: and

     13)        as directed by the probation officer, the defendant shall notiI' third parties of risks that ma y he occasioned by the defendant's criminal
                record or eersonal history or characteristics and shall permit the probation officer to make such notil' 2allons and to confirmthe
                dcl'endant s compliance with such notification requirement.
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AO 245B        (Rev 09/I I) Judgment in a Criminal Cana
vi             Sher 3C     Supervised Relea,m

                                                                                                            Judgment Page: 4 of 6
 DEFENDANT: ALLEX DEMOND MAY
 CASE NUMBER: 2:13cr287-06-WKW

                                             SPECIAL CONDITIONS OF SUPERVISION

     Defendant shall participate in a program approved by the United States Probation Office for subslance abuse, which will
     include testing to determine whether he has reverted to the use of drugs. Defendant shall contrioute to the cost of any
     treatment based on ability to pay and the availability of third-party payments.

     Defendant shall submit to a search of his person, residence, office or vehicle pursuant to the search policy of this court.
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AO 21513        (Rev )/1 I) ludginent ill Criminal CaSL

 I               Sheet 5— CriillhIlaI Monetary PnaI Lies

                                                                                                                                 Judgment Page: 5 of 6
     DEFENDANT: ALLEX DEMOND MAY
     CASE NUMBER: 2:13cr287-06-WKW
                                                     CRIMINAL MONETARY PENALTIES
         The defendant must pa' the total criminal monetary pentilucs under the schedule of payments oil                   Ii.



                           Assessment                                              Fine              Restitution
     TOTALS            S 100.00                                                 $ 3,000.00         S
                                                                                               $o.oc



     E The determination of restitution is deferred until - An
                                                             - .                     t     mended Judgment in a Criminal Case (AC) 245C) will he entered
       alter such determination.

     LJ The defendant must make restitution (including comurunilv restitution) to the following payees in the amount listed below.

         if the deltndant makes a partial payment. each pa cc shall receive tin approximately proportioned paym.nt, unless specified otherwise in
         the priorit' order or percentage pa y ment column lcIoi . I luever, pursuant to 18 U.S.C. § 3664(u). all nonfederal victims must be paid
         before the Uniied States is paid.

     Name of Payee                                                          lulal Loss*               Restitution Ordercit Priority or Perccntae




 TOTALS                                                                                       $0.00



         Restitution amount ordered pursuant to plea agreement S - - -

 U [he defendant must pay interest on restitution and a line ol more than S2,500, unless the restitution or inc is paid in full before the
      filieenth day after the date of the judgment. pursuant to IS U.S.C. § 3612(1). All of the payment options on Sheet 6 may he subject
      to penalties for delinquency and default, pursuant to IS U.S.C. 3612(g).

         The court determined that the defendant dues not have foe ability 10 pay interest and it is ordered that:

         Wf the interest requirement is waived for the                 W line     fl restitution.
         liii Iliv interest requirement for the            fl   line    El restitution is modified as follows:



 * Findings for the total ormunl of losses are required under Chapers 109A, 1 10, I 10A, and I 13A of Title 18 loroffenses committed oil                 alter
 September 13, 1994, but before April 23, 1996.
                  Case 2:13-cr-00287-WKW-CSC Document 229 Filed 11/17/14 Page 6 of 6

AO 24513      (Rev, O)/i I) iudgrocni ir a Criminal Caw
 1            Shed 6— Schedule of Pavmeets

                                                                                                                         Judgment Page: 6 of 6
DEFENDANT:                                                ALLEX                        DEMOND                             MAY
CASE NUMBER: 2:13cr287-06-WKW


                                                          SCHEDULE OF PAYMENTS

 Having assessed the defendant's abililv to pay. payment of III e iotal criminal monetary penalties is due as lb ,ows:

 A          Lump sum pa y ment of S        3,100.00         --   due immediately, balance due

                not later than                                        or
              ' ill                             C,         D,    E    F, or           F below; or

 B     7 Payment to begin immediately Inlay he combined with                  El C.       l I), or      F below); or

C          Payment in equal             -        (e g, week/r, monthl y, (uarlerfe) installments of                              over a period of
                      - (e.g. months or years), to commence       -          --   (e g, 30 or 60 days) atier the date .)f this judgment; or

 D         Payment in equal                       (e.g. weekl y, monthl y, qoorlenli) installments of $                         over a period of
            -            (e  g inonihs oiycois), to commence                  - --  (e.g., 30 or 60 dasJ after release rorn imprisonment  to a
           Icitu 0! supervision: or

 E         Payment during the term of supervised rcleae v ill commence withiii              - (e g 30 or 60 days) alter release from
           imprisonment. The court will set the payment plan based on an assessment 01 the defendant's abilily to pay at that time; or

 F         Special instructions regarding the payment of criminal monetal'y penalties:

            All criminal monetary payments are to be made to the Clerk, United States District Court, Middi. District of Alabama, Post
            Office Box 711, Montgomery, Alabama 3610!. Any balance of the fine remaining at the start ol supervision shall be paid at
            the rate of not less than $100.00 per month.




Unless the court has expressly ordered otherwise. i (this jud g ii:ent imposes imprisonment, pa y nnt of cninin. I monetary penalties is due during
imprisonment. All erimnal monetar y penalties, except those pu>'nlents made through the Federal Bureau o Prisons' Inmate Financial
Responsibi litv Program. are made to ihe clerk o I' the court.

The defendant shall receive credIt for all payments pre\ ions!) made toward an y criminal monetar y penaltie:: imposed.




El Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including cle/endcini number), Total Amount. .hitnl and Several Amount,
      and corresponding payee, it appropriate.




E      Me detèndant shall pay the cost of prosecution.

El    The del'endani shall pay the following court cost(s):

El     ]'he defendant shall forfeit the delbndant's interest in the folloving property to the United States:




Payments shall he applied in the following order: (I) assessmcnl, (2) restitution principal. (3) restitution inl:-rest. (4) line principal.
(5) line interest, (6) community restitution. (7) penalties. and (8) costs, including cost of prosecution and court costs.
